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                                              EXHIBIT 20

   A U.S. Civilian in Baghdad: Standing Out, Even in Death
   By Christopher Maag

   Jan. 19, 2007


   CLEVELAND, Jan. 18          Andrea Parhamovich always stood out.
   Before she was killed Wednesday in an ambush in Baghdad, Ms. Parhamovich, a 28-year-old
   political consultant from Perry, 40 miles east of here, was known to her friends and family as
   hard charging but lovable, possessed with Joan of Arc’s determination and the charm of a
   pixie, who had dreams of working on a presidential campaign and possibly running for
   Congress.

   Ms. Parhamovich, whom everyone called Andi, mocked death. In November 2006, two car
   bombs were discovered in front of the building where she lived in the Green Zone in
   Baghdad. The base was locked down, said Michael Hastings, her boyfriend, who is the
   Baghdad correspondent for Newsweek magazine. In the Green Zone convention center for
   hours, Ms. Parhamovich grew bored, Mr. Hastings said. She led 10 American and Peruvian
   men as they walked back to her building, mortars exploding nearby.

   Mr. Hastings said he was planning to ask Ms. Parhamovich to marry him next month during
   a Valentine’s Day trip to Paris. “She was this little blond-haired, blue-eyed girl from Ohio, but
   she was tough,” he said. “She was far more brave than I am.”

   Ms. Parhamovich was teaching Iraqi politicians how to communicate with constituents. She
   was a staff member of the National Democratic Institute, a nonproﬁt group led by former
   Secretary of State Madeleine K. Albright that works to build democratic institutions. She
   was in an institute convoy outside the Green Zone when it was attacked. On Thursday, a
   coalition of Sunni insurgents linked to Al Qaeda claimed responsibility for the attack, which
   killed a total of four people, The Associated Press reported.

   She had left a job with the liberal Air America radio network, helping to organize its antiwar
   “Bring ’Em Home” concert in New York City in March 2006.

   “Whenever I went into her ofﬁce, I just felt a happiness, a glow,” said Al Franken, the liberal
   radio show host, who choked up several times as he discussed Ms. Parhamovich. “She was a
   hard person not to like.”



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  Ms. Parhamovich’s father coached baseball at a high school near Perry, the small town
  where she grew up, and she had dreams of becoming a top fast-pitch softball player before
  back injuries forced her to quit the sport, said Joe Zampini, her brother-in-law.

  She talked just as she played: fast. “She wasn’t into small talk,” Mr. Zampini said. “She
  wanted to get the most out of life. She was very highly motivated to help the world.”

  Ms. Parhamovich attended Marietta, a small liberal arts college in southeast Ohio, where
  she studied advertising and public relations. Politically liberal, she was conservative on
  personal matters, said Ryan Zundell, who worked with her in the college’s public relations
  department. She rarely drank and eschewed low-cut shirts and jeans.

  She graduated in three and a half years then worked for Jane Swift, who was the Republican
  governor of Massachusetts. Ms. Parhamovich opposed the war from the start, Mr. Hastings
  said.

  “There’s so much injustice in this country, so many horrible things happening,” he said from
  Baghdad. “She felt like she could make a difference.”




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